Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 1 of 48 PageID# 3
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 2 of 48 PageID# 4
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 3 of 48 PageID# 5
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 4 of 48 PageID# 6
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 5 of 48 PageID# 7
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 6 of 48 PageID# 8
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 7 of 48 PageID# 9
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 8 of 48 PageID# 10
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 9 of 48 PageID# 11
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 10 of 48 PageID# 12
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 11 of 48 PageID# 13
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 12 of 48 PageID# 14
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 13 of 48 PageID# 15
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 14 of 48 PageID# 16
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 15 of 48 PageID# 17
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 16 of 48 PageID# 18
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 17 of 48 PageID# 19
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 18 of 48 PageID# 20
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 19 of 48 PageID# 21
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 20 of 48 PageID# 22
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 21 of 48 PageID# 23
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 22 of 48 PageID# 24
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 23 of 48 PageID# 25
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 24 of 48 PageID# 26
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 25 of 48 PageID# 27
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 26 of 48 PageID# 28
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 27 of 48 PageID# 29
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 28 of 48 PageID# 30
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 29 of 48 PageID# 31
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 30 of 48 PageID# 32
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 31 of 48 PageID# 33
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 32 of 48 PageID# 34
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 33 of 48 PageID# 35
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 34 of 48 PageID# 36
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 35 of 48 PageID# 37
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 36 of 48 PageID# 38
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 37 of 48 PageID# 39
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 38 of 48 PageID# 40
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 39 of 48 PageID# 41
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 40 of 48 PageID# 42
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 41 of 48 PageID# 43
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 42 of 48 PageID# 44
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 43 of 48 PageID# 45
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 44 of 48 PageID# 46
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 45 of 48 PageID# 47
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 46 of 48 PageID# 48
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 47 of 48 PageID# 49
Case 1:20-cr-00196-AJT Document 2 Filed 07/31/20 Page 48 of 48 PageID# 50




               Digitally signed by Michael S.
               Nachmanoff
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